Case 2:17-cV-08580-.]AK-SS Document 54 Filed 04/19/18 Page 1 of 2 Page |D #:369

Laura E. lnlow (SBN 130584)
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21515 Hawthorne Blvd., Ste. 800
Torrance, CA 90503

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

CASE NUMBER;
ANDRES RAMIREZ
17-CV-08580 ]AK (SSX)
Plaintiff{s)
V.
cer oF Los ANGELES, et al. STIPULATION REGARDING
SELECTION OF PANEL MEDIATOR
Defendant(s).
CHECK ONLY ONE BOX:
The parties stipulate that RICK COPELAND may serve as the Panel
Mediator in the above-captioned case. MATTHEW MCALEER has contacted

 

(Prinl Name)

the Panel Mediator and obtained the Panel Mecliator's consent to serve on a pro bono basis for
three (B)hours. All parties and the Panel Mediator have agreed that the mediation Will be held
on TBD and counsel Will submit mediation statements seven (7) calendar days

Datc

before the session.
|:| The parties request that the ADR Program staff assign to the above-captioned case a Panel
Mediator With expertise in the following area of law :

 

Dated: April 19, 2018 /s/' Michael S. Devereux
Attorney For Plaintiff ANDRES RAMIREZ

 

 

 

 

 

Dated:

Attorney For Plaintiff
Dated: April 19, 2018 /s/ Laura E. Inlow

Attorney For Defendant CORTEZ and HUGHES
Dated: April 19, 2018 /s." Christian R. Bojorquez

 

Attorney For Defendant CITY OF LOS ANGELES

Attorney for Plaintiff to electronically file original document

 

ADR¢DZ (08!16) STIPULATION REGARDING SELEC'|`ION OF PANEL MEDIATOR

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Defenda_nt(s).
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Mediator With expertise in the following area of law :

 

Dated: April 19, 2018 /s/ Michael S. Devereux
Attorney For Plaintiff ANDRES RAMIREZ

 

 

 

 

 

Dated:

Attorney For Plaintiff
Dated: April 19, 2018 fs/ Narek Zohrabyan

Attornev F or Defendant SHALDIIAN
Dated:

 

Attorney F or Defendant

 

Attorney for Plaintiff to electronically file original document

 

ADR~OZ (08/16) S'l`IPULA'l`ION REGARD|NG SELECTION OF PANEL MEDIATOR

